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      minor, Darryl Martin John Oatridge, and
10    Bridget Oatridge
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     Additional parties and counsel listed on
12   signature pages

13
                                   UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION
15
     IN RE: FUTURE MOTION, INC.                      No.: 5:23-md-03087-BLF
16

17   PRODUCTS LIABILITY LITIGATION                   JOINT STIPULATION REGARDING
                                                     RECOMMENDATION OF MAGISTRATE
18   _____________________________________           JUDGE
19   This document relates to:
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     ALL ACTIONS
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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE
     Case No. 5:23-cv-03087-BLF
     011109-11/2437624 V1
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 1                                          JOINT STIPULATION

 2            Pursuant to this Court’s Case Management Order No. 1 (ECF No. 56), the Parties jointly

 3   recommend the appointment of Magistrate Judge Laurel Beeler to preside over the Parties’ efforts to
 4
     settle their respective cases. Alternately, if Magistrate Judge Beeler is unavailable, the Parties jointly
 5
     recommend the appointment of either Magistrate Judge Susan van Keulen or Magistrate Judge
 6
     Joseph Spero for this purpose.
 7

 8   STIPULATED AND AGREED TO BY:
 9   Dated: February 1, 2024                        Respectfully submitted,
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                                                    Powell, Richard Bonner, Joshua Flott
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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 1
     Case No. 5:23-cv-03087-BLF
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          Case 5:23-md-03087-BLF Document 63 Filed 02/01/24 Page 3 of 7




 1                                                of Maxwell Bunnell, a minor, Darryl Martin John
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 2
                                                  -and-
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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 2
     Case No. 5:23-cv-03087-BLF
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 1

 2

 3   Dated: February 1, 2024                      NILAN JOHNSON LEWIS PA

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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 3
     Case No. 5:23-cv-03087-BLF
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          Case 5:23-md-03087-BLF Document 63 Filed 02/01/24 Page 5 of 7




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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 4
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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 5
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 1                                     LOCAL RULE 5-1 ATTESTATION

 2            I hereby attest, pursuant to Civil L.R. 5-1(i)(3) that the concurrence to the filing of this
 3
     document has been obtained from each signatory hereto.
 4
                                                     By: /s/ Jerrod C. Patterson
 5                                                       Jerrod C. Patterson
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     JOINT STIPULATION REGARDING MAGISTRATE JUDGE – 6
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